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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MICHAEL NOLAN,

                                     Plaintiff,

       v.                                                           Case No. 1:21-cv-922-WMS

WESTERN REGIONAL OFF TRACK BETTING
CORPORATION, RICHARD D. BIANCHI, Individually
and in his capacity as Chairman of the WROTB Board of
Directors, and HENRY WOJTASZEK, Individually and as
President of WROTB,

                                     Defendant.


WESTERN REGIONAL OFF TRACK
BETTING CORPORATION,

                                     Third-Party Plaintiff,

     v.
STEVEN M. COHEN, ESQ.,

                                     Third-Party Defendant.


                            ANSWER WITH COUNTERCLAIM
                            AND THIRD-PARTY COMPLAINT

               Defendants, Western Regional Off Track Betting Corporation (“WROTB”),

Richard D. Bianchi (“Bianchi”), and Henry Wojtaszek (“Wojtaszek”) (collectively,

“Defendants”), by their attorneys, Hodgson Russ LLP, for their Answer to the Complaint of

Plaintiff, Michael Nolan (“Plaintiff”), Counterclaim against Plaintiff, and Third-Party Complaint,

state as follows:
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       1.      Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 1.


       2.      Defendants admit the allegations in paragraph 2.


       3.      Defendants admit the allegations in paragraph 3.


       4.      Defendants admit the allegations in paragraph 4.


       5.      Defendants state that paragraph 5 presents legal conclusions to which no response

is required, and to the extent that a response is required, Defendants deny the allegations in

paragraph 5.


       6.      Defendants state that paragraph 6 presents legal conclusions to which no response

is required and refers to the referenced Notice of Claim for its true and accurate content.


       7.      Defendants admit the allegations in paragraph 7.


       8.      With respect to the allegations in paragraph 8, Defendants admit that more than

30 days elapsed between the service of Plaintiff’s Notice of Claim and the filing of Plaintiff’s

Complaint. Defendants further admit that WROTB refused to pay Plaintiff concerning his

claims because they lack merit.


       9.      Defendants state that paragraph 9 presents a legal conclusion to which no

response is required.


       10.     Defendants admit the allegations in paragraph 10.


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       11.     Defendants state that the allegations in paragraph 11 contain an incomplete

recitation of Plaintiff’s job duties while employed as Chief Operating Officer (“COO”) of

WROTB.


       12.     Defendants admit the allegations in paragraph 12.


       13.     Defendants admit the allegations in paragraph 13.


       14.     Defendants admit the allegations in paragraph 14.


       15.     Defendants deny the allegations in paragraph 15.


       16.     With respect to the allegations in paragraph 16, Defendants admit that Plaintiff

was the COO of WROTB at the time his employment was terminated on or about December 18,

2020, and deny the remaining allegations in that paragraph.


       17.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 17.


       18.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 18.


       19.     Defendants deny the allegations in paragraph 19.


       20.     With respect to the allegations in paragraph 20, Defendants admit that in February

of 2019, former State Senator George Maziarz held a press conference falsely accusing

Wojtaszek and WROTB of “illegal” conduct and deny the remaining allegations in that

paragraph.
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       21.     Defendants deny the allegations in paragraph 21.


       22.     With respect to the allegations in paragraph 22, Defendants deny knowledge or

information sufficient to form a belief as to whether “Plaintiff had significant concerns” and

deny the remaining allegations in that paragraph.


       23.     Defendants deny the allegations in paragraph 23.


       24.     Defendants deny the allegations in paragraph 24 except that Nolan did speak

about Board health benefits, and state that Plaintiff instead stated to the WROTB Board that he

believed Wojtaszek was the target of too much negative publicity, that the Board should

terminate Wojtaszek, and that Plaintiff’s FOIL responsibilities were causing him stress and

wanted them to be reassigned.


       25.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 25.


       26.     With respect to the allegations in paragraph 26, Defendants admit that the

WROTB Board permitted Plaintiff to retain outside counsel to provide a second legal opinion

regarding the provision of health insurance benefits to Board members and deny the remaining

allegations in that paragraph.


       27.     With respect to the allegations in paragraph 27, Defendants admit that Plaintiff

retained Barclay Damon LLP to provide a second legal opinion regarding the provision of health

insurance benefits to Board members and deny the remaining allegations in that paragraph.



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       28.     With respect to the allegations in paragraph 28, Defendants admit that Barclay

Damon LLP opined that WROTB should not provide health insurance benefits to its Board

members and deny the remaining allegations in that paragraph.


       29.     Defendants deny the allegations in paragraph 29 and state that the practice ceased.


       30.     With respect to the allegations in paragraph 30, Defendants admit that Nolan,

without authorization and knowledge of the WROTB Board, secretly hired a second attorney,

and deny the remaining allegations in that paragraph.


       31.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 31.


       32.     Defendants deny the allegations in paragraph 32.


       33.     Defendants deny the allegations in paragraph 33.


       34.     Defendants deny the allegations in paragraph 34.


       35.     Defendants deny the allegations in paragraph 35.


       36.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 36.


       37.     Defendants admit that some representatives of WROTB were questioned by

authorities and deny knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 37.


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       38.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 38 and affirmatively state, upon information and belief, that

WROTB representatives have told authorities that Plaintiff is not honest or trustworthy and

believe the same to be true.


       39.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 39.


       40.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 40.


       41.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 41.


       42.     Defendants deny the allegations in paragraph 42 and state that Plaintiff simply

stated that he had hired his lawyer.


       43.     Defendants deny the allegations in paragraph 43.


       44.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 44.


       45.     With respect to the allegations in paragraph 45, Defendants deny knowledge or

information sufficient to form a belief as to the truth of what “Plaintiff maintained” during

“investigations and interviews,” and deny the remaining allegations in that paragraph.




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       46.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 46, and state that Plaintiff told a prominent, well-respected

local attorney, who performed an internal investigation for WROTB, that he had no specific

knowledge of any illegal activity at WROTB, that he had not uncovered any illegality, and that

he did not believe Wojtaszek or Bianchi violated any WROTB internal policies regarding

procurement.


       47.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 47, and state that Plaintiff told a prominent, well-respected

local attorney, who performed an internal investigation for WROTB, that he had no specific

knowledge of any illegal activity at WROTB, that he had not uncovered any illegality, and that

he did not believe Wojtaszek or Bianchi violated any WROTB internal policies regarding

procurement.


       48.     Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 48.


       49.     Defendants deny the allegations in paragraph 49.


       50.     Defendants deny the allegations in paragraph 50.


       51.     Defendants deny the allegations in paragraph 51.


       52.     Defendants deny the allegations in paragraph 52.




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       53.     With respect to the allegations in paragraph 53, Defendants admit that WROTB

hired outside counsel to investigate certain accusations and prepare a report and deny the

remaining allegations in that paragraph.


       54.     With respect to the allegations in paragraph 54, Defendants admit that Plaintiff

was interviewed twice by the outside counsel hired by WROTB to investigate certain accusations

and deny the remaining allegations in that paragraph.


       55.     With respect to the allegations in paragraph 55, Defendants admit that Plaintiff

was one of several people interviewed by the outside counsel hired by WROTB to investigate

certain accusations and that the outside counsel prepared a report that contained summaries of

those interviews and deny the remaining allegations in that paragraph.


       56.     With respect to the allegations in paragraph 56, Defendants admit that WROTB

Board members were provided a copy for review of the report prepared by the outside counsel

hired by WROTB to investigate certain accusations and deny the remaining allegations in that

paragraph.


       57.     Defendants deny the allegations in paragraph 57.


       58.     Defendants deny the allegations in paragraph 58.


       59.     Defendants deny the allegations in paragraph 59.


       60.     Defendants deny the allegations in paragraph 60.


       61.     Defendants deny the allegations in paragraph 61.

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       62.      Defendants deny the allegations in paragraph 62.


       63.      Defendants deny the allegations in paragraph 63.


       64.      Defendants deny the allegations in paragraph 64.


                         AS AND FOR A FIRST CAUSE OF ACTION
                              AGAINST ALL DEFENDANTS

    VIOLATION OF FIRST AMENDMENT TO UNITED STATES CONSTITUTION

       65.      Defendants repeat their responses to the allegations incorporated by reference in

paragraph 65.


       66.      With respect to the allegations in paragraph 66, Defendants admit that Plaintiff, as

COO, supervised some but not all of the day-to-day operations of WROTB and that the WROTB

Board and Wojtaszek were responsible for formulating WROTB policies, and deny the

remaining allegations in that paragraph.


       67.      Defendants deny the allegations in paragraph 67.


       68.      Defendants deny the allegations in paragraph 68.


       69.      Defendants deny the allegations in paragraph 69.


       70.      Defendants deny the allegations in paragraph 70.


       71.      Defendants deny the allegations in paragraph 71.


       72.      Defendants deny the allegations in paragraph 72.



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       73.      Defendants deny the allegations in paragraph 73.


                       AS AND FOR A SECOND CAUSE OF ACTION
                            AGAINST DEFENDANT WROTB

                    VIOLATION OF CIVIL SERVICE LAW §75-b-(2)(a)

       74.      Defendants repeat their responses to the allegations incorporated by reference in

paragraph 74.


       75.      Defendants deny the allegations in paragraph 75.


       76.      Defendants deny the allegations in paragraph 76.


       77.      Defendants deny the allegations in paragraph 77.


       78.      Defendants deny the allegations in paragraph 78.


       79.      Defendants deny the allegations in paragraph 79.


       80.      Defendants deny the allegations in paragraph 80.


                      AS AND FOR A THIRD CAUSE OF ACTION
                  AGAINST DEFENDANTS BIANCHI AND WOJTASZEK

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       81.      Defendants repeat their responses to the allegations incorporated by reference in

paragraph 81.


       82.      Defendants state that no response is required to the allegations in paragraph 82

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 82.
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       83.      Defendants state that no response is required to the allegations in paragraph 83

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 83.


       84.      Defendants state that no response is required to the allegations in paragraph 84

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 84.


       85.      Defendants state that no response is required to the allegations in paragraph 85

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 85.


       86.      Defendants state that no response is required to the allegations in paragraph 86

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 86.


       87.      Defendants state that no response is required to the allegations in paragraph 87

because the Court has dismissed Plaintiff’s Third Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 87.


                       AS AND FOR A FOURTH CAUSE OF ACTION
                            AGAINST DEFENDANT WROTB

     INDEMNIFICATION OF AND REIMBURSEMENT FOR ATTORNEY’S FEES

       88.      Defendants repeat their responses to the allegations incorporated by reference in

paragraph 88.



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       89.    Defendants admit that Plaintiff was acting withing the scope of his employment

with WROTB at all times alleged in his Complaint.


       90.    Defendants state that no response is required to the allegations in paragraph 90

because the Court has dismissed Plaintiff’s Fourth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 90.


       91.    Defendants state that no response is required to the allegations in paragraph 91

because the Court has dismissed Plaintiff’s Fourth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 91.


       92.    Defendants state that no response is required to the allegations in paragraph 92

because the Court has dismissed Plaintiff’s Fourth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 92.


       93.    Defendants state that no response is required to the allegations in paragraph 93

because the Court has dismissed Plaintiff’s Fourth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 93.


       94.    Defendants state that no response is required to the allegations in paragraph 94

because the Court has dismissed Plaintiff’s Fourth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 94.




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                         AS AND FOR A FIFTH CAUSE OF ACTION
                             AGAINST DEFENDANT WROTB

                             VIOLATION OF LABOR LAW §740

       95.      Defendants repeat their responses to the allegations incorporated by reference in

paragraph 95.


       96.      Defendants state that no response is required to the allegations in paragraph 96

because the Court has dismissed Plaintiff’s Fifth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 96.


       97.      Defendants state that no response is required to the allegations in paragraph 97

because the Court has dismissed Plaintiff’s Fifth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 97.


       98.      Defendants state that no response is required to the allegations in paragraph 98

because the Court has dismissed Plaintiff’s Fifth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 98.


       99.      Defendants state that no response is required to the allegations in paragraph 99

because the Court has dismissed Plaintiff’s Fifth Cause of Action. To the extent a response is

required, Defendants deny the allegations in paragraph 99.


                                      GENERAL DENIAL

       100.     Defendants deny all allegations and legal assertions not expressly addressed in the

preceding paragraphs of this Answer.



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                                              DEFENSES

                Without assuming any burden that does not otherwise exist, Defendants assert the

following defenses:


                                              First Defense

        101.    The Complaint fails to state a claim upon which relief can be granted.


                                             Second Defense

        102.    Some or all Plaintiff’s claims are barred, in whole or in part, by the applicable

statutes of limitations or filing periods.


                                             Third Defense

        103.    Plaintiff’s claims are barred, in whole or in part, by his failure to serve a Notice of

Claim. Plaintiff is statutorily barred from litigating any allegations, issues, or claims not

presented in his Notice of Claim.


                                             Fourth Defense

        104.    The Defendants’ conduct at all times was in good faith, without malice, and based

upon reasonable grounds.


                                             Fifth Defense

        105.    Plaintiff’s claims are barred because he was not speaking as a private citizen on

matters of public concern.




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                                            Sixth Defense

          106.   Any employment actions taken by Defendants toward Plaintiff were for legitimate

reasons having nothing to do with Plaintiff’s alleged protected speech, and were in keeping with

policies, procedures, and practices and properly within Defendants’ business discretion and

judgment.


                                          Seventh Defense

          107.   At no time did the Defendants take any action toward Plaintiff that it would not

have taken toward similarly situated individuals regardless of allegedly engaging in protected

speech.


                                           Eighth Defense

          108.   Plaintiff’s actions and/or omissions were the sole proximate cause of his damages,

if any.


                                           Ninth Defense

          109.   Plaintiff’s claims against Bianchi and Wojtaszek are barred because Bianchi and

Wojtaszek and entitled to qualified immunity.


                                           Tenth Defense

          110.   Plaintiff’s claims are barred by the doctrines of waiver, estoppel, laches, unclean

hands, and/or ratification based upon his own actions, omissions, and, without limitation, his

refusal to comply with reasonable requests by Defendants.




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                                        Eleventh Defense

        111.   Plaintiff’s damages, if any, were caused by his own failure to take reasonable

actions to avoid and/or mitigate his alleged damages.


                                        Twelfth Defense

        112.   The Complaint fails to state a claim for declaratory judgment, injunctive relief,

compensatory damages, prejudgment interest, liquidated damages, punitive damages, and/or any

other item of claimed damages.


                                 RESERVATION OF RIGHTS

        113.   Defendants reserve the right to assert further defenses that may become known

through investigation, discovery, or otherwise.


                                      COUNTERCLAIM

               Defendant, Western Regional Off Track Betting Corporation (“WROTB”), by and

through its attorneys, Hodgson Russ LLP, for its Counterclaim against Plaintiff, Michael Nolan

(“Nolan”), states as follows:


                                 FACTUAL BACKGROUND

I.      Nolan’s employment with WROTB

        114.   In 2011, WROTB hired Nolan as Executive Vice President of Administration and

Operations.


        115.   In 2016, the Chief Executive Officer (“CEO”) of WROTB was set to retire.

Nolan sought the position but a Board majority instead voted to elect Wojtaszek to CEO.


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         116.   In 2017, the WROTB Board elevated Nolan to Chief Operating Officer (“COO”).

II.      Nolan’s Secret “Investigation”

         117.   Beginning in late 2018, the local news media began a drumbeat of negative

publicity regarding WROTB and Wojtaszek.


         118.   In December of 2018, the local news media published a report critical of

WROTB’s policy of providing health benefits to its Board Members.


         119.   WROTB hired an attorney to provide a legal opinion regarding the benefits.


         120.   The attorney hired by WROTB prepared an opinion and concluded that an

Attorney General’s advisory opinion—which had advised that the benefits were not permitted—

was either incorrect or, at worst, non-binding, concluding that WROTB could continue to

provide benefits.


         121.   The attorney’s opinion, and yet another critical article, then appeared in the local

news media in early 2019.


         122.   In February of 2019, former N.Y. State Senator George Maziarz (“Maziarz”) held

a press conference accusing Wojtaszek and WROTB of illegal conduct regarding the Board

health benefits and accused WROTB representatives of improperly distributing suite tickets to

professional sporting events, by keeping them for personal use instead of distributing them to

clients and high rollers.


         123.   Around the same time, Nolan began pushing for WROTB to obtain an additional

legal opinion regarding the Board health benefits. Wojtaszek and the WROTB Board agreed,
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with Nolan hiring a Syracuse-based firm. The attorney’s opinion concluded that WROTB should

not provide health benefits to its Board Members.


         124.   Unbeknownst to both Wojtaszek and the WROTB Board, however, Nolan

secretly began a second “investigation.”


         125.   Nolan and another Board member secretly hired a second attorney (a criminal

defense attorney from Albany), on behalf of WROTB to render advice on issues beyond the

permissibility of providing health benefits to WROTB Board Members.


         126.   Nolan did not seek authorization of the Board, nor did he inform the Board of his

actions.


         127.   As part of his secret “investigation,” Nolan also instructed other WROTB

employees to confidentially gather records for him and to tell no one that he had asked them to

do so.


         128.   Nolan revealed none of his purported “concerns” to the WROTB Board until a

Board meeting on March 28, 2019. But Nolan never revealed to the Board that he was

conducting a separate, “secret” investigation.


III.     The March 28, 2019 WROTB Board meeting

         129.   Prior to a March 28, 2019 WROTB Board meeting, Nolan, upon information and

belief, had told someone outside of WROTB that he would soon become its CEO.




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       130.     At the March 28, 2019 meeting, Nolan caught the WROTB Board off-guard by

asking for an “executive session” from which Wojtaszek would be excluded.


       131.     During that session, Nolan told the Board that Wojtaszek was to blame for all the

negative press and advocated for the Board to fire Wojtaszek.


       132.     At the meeting, Nolan also told the Board that he soon would be “going to the

FBI” about Wojtaszek and Board Chairman Richard Bianchi, whom he also incorrectly

suggested could be implicated in unlawful conduct.


       133.     With no evidence of any wrongdoing, the Board took no action at the March 28,

2019 meeting.


       134.     Shortly after the meeting, the local news media ran a story targeting Wojtaszek

and Bianchi, alleging the FBI was investigating the awarding of WROTB contracts for

marketing, advertising, lobbying, and accounting.


       135.     The WROTB Board then hired a distinguished attorney—Terrence M. Connors—

to investigate these allegations and to prepare a report.


       136.     Mr. Connors conducted approximately twenty interviews of WROTB officers,

Board Members, and employees.


       137.     The Board member who had worked with Nolan to conduct a secret

“investigation” refused to participate in the interviews with Mr. Connors.


       138.     Nolan participated in the interviews.

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        139.    Nolan stated to Mr. Connors that he had no specific knowledge of any illegal

activity at WROTB and that he had not uncovered any illegality there.


        140.    Nolan also told Mr. Connors that he did not believe Wojtaszek or Bianchi violated

any WROTB internal policies regarding procurement. Instead, Nolan stated that he believed

WROTB’s procurement of professional services should be handled more professionally. He also

told Mr. Connors that there was “nothing there” regarding the allegations concerning WROTB’s

use of suite tickets.


        141.    It was Mr. Connors who, months later, uncovered the existence of Nolan’s

“secret” investigation and the unauthorized hiring of a second attorney, which Nolan had never

revealed to the Board.


IV.     Nolan’s Attorney, Steven Cohen, admits he worked
        with former Senator Maziarz to undermine Wojtaszek

        142.    Upon information and belief, Nolan also hired attorney Steven M. Cohen, Esq.

(“Cohen”), on his own behalf in late 2018 or early 2019.


        143.    Six months after receiving a summary of his interview with Mr. Connors, Nolan

requested significant substantive changes to his statements. Nolan told Mr. Connors that the

original summary was “pretty accurate” but that he wanted to make changes to it as a result of

several meetings with his attorneys, including Cohen, who were not present for Nolan’s

interview.


        144.    For example, Nolan asked that his statement be changed to indicate that there

were substantial abuses concerning the issuance of special event tickets at WROTB.

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       145.    Nolan later sat for a second interview for which Cohen was present.


       146.    During that interview, Cohen admitted to Mr. Connors that he had been friends

with Maziarz for decades and that Cohen had provided Maziarz with information from Nolan

regarding Wojtaszek and WROTB.


       147.    Cohen also told Mr. Connors that it was Cohen’s intention to gather negative

information on Wojtaszek to be used as an advantage in a separate, unrelated matter involving

another one of Cohen’s clients who was adverse to Wojtaszek.


       148.    Time charges on Cohen’s legal invoice to Nolan (which Nolan submitted to

WROTB for reimbursement) show multiple conversations between Cohen and Maziarz. They

also show multiple conversations between Nolan and Cohen regarding the news media.


       149.    Nolan later admitted that he authorized Cohen to speak to Maziarz about

WROTB.


       150.    Cohen also admitted that he obtained Nolan’s permission to share with Maziarz

whatever information he felt was necessary to get information from Maziarz.


       151.    Cohen also admitted that he knew Maziarz was working with a particular local

news publication to feed negative information to it regarding Wojtaszek.


       152.    Cohen also admitted that he knew Maziarz was angry at Wojtaszek after the two

had a falling out and that Maziarz had intended to hurt Wojtaszek’s reputation.




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       153.    Cohen also admitted that he knew Maziarz was interested in negative information

regarding WROTB to hurt the reputation of Wojtaszek by sharing it with the media. In

exchange, Cohen sought “help” from Maziarz.


       154.    Upon information and belief, both Maziarz and Cohen—with Nolan’s approval—

were feeding negative and misleading stories and information to the local news media to smear

Wojtaszek and WROTB.


       155.    Nolan then utilized these negative stories as a basis to pressure the WROTB

Board to remove Wojtaszek as CEO, so Nolan could replace him.


                               FIRST COUNTERCLAIM
           (Breach of Fiduciary Duty and Duties of Loyalty and Confidentiality-
                           Asserted by WROTB against Nolan)

       156.    WROTB repeats and realleges its responses and allegations in paragraphs 1

through 155.


       157.    At all times relevant, Nolan was the COO of WROTB.


       158.    As an officer of WROTB, Nolan owed a fiduciary duty and duties of loyalty and

confidentiality to WROTB.


       159.    Nolan breached his fiduciary duty to WROTB by utilizing company resources

without knowledge or approval of the WROTB Board or his supervisors to hire a second

attorney and conduct a secret, secondary investigation with the goal of having the Board

terminate Wojtaszek as CEO so Nolan could occupy the position.



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       160.    Nolan further breached his fiduciary duties to WROTB by engaging in a

coordinated effort with Cohen and Maziarz to publicly embarrass Wojtaszek and harm WROTB

by providing confidential and incorrect WROTB information to the news media, which harmed

the reputation and community goodwill of WROTB.


       161.    Nolan acted in his own interests and to the detriment of WROTB.


       162.    Nolan failed to act in WROTB’s best interests.


       163.    Nolan’s conduct directly and proximately caused damage to WROTB.


       164.    As a result of Nolan’s disloyalty, WROTB is entitled to disgorgement to recover

all compensation, salary, and benefits paid to Nolan during the period of disloyalty.


       165.    As a result of Nolan’s breaches of fiduciary duties, WROTB has suffered

damages in an amount to be determined at trial.


                                THIRD-PARTY COMPLAINT

               Third-Party Plaintiff, Western Regional Off Track Betting Corporation

(“WROTB”), by and through its attorneys, Hodgson Russ LLP, for its Third-Party Complaint

against Steven M. Cohen, Esq. (“Cohen”), states as follows:


                                            PARTIES

       166.    WROTB is a regional off-track betting corporation headquartered in Batavia,

New York and is a “public benefit corporation” established in the 1970s by the New York State

Legislature under the New York Racing, Pari-Mutuel Wagering and Breeding Law.


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       167.    Cohen is an individual residing in the Village of Williamsville, County of Erie,

and State of New York.


                                JURISDICTION AND VENUE

       168.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1367(a).


       169.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because Cohen

resides in the Western District of New York.


                           FIRST THIRD-PARTY CLAIM
(Aiding and Abetting Breach of Fiduciary Duty and Duties of Loyalty and Confidentiality
                        - Asserted by WROTB against Cohen)

       170.    WROTB repeats and realleges its responses and allegations in paragraphs 1

through 169.


       171.    As set forth above, Nolan breached his fiduciary duty and duties of loyalty and

confidentiality to WROTB.


       172.    Cohen had actual knowledge that Nolan, his client, was an officer of WROTB and

that Nolan owed a fiduciary duty and duties of loyalty and confidentiality to WROTB.


       173.    Cohen actively participated in and provided substantial assistance in Nolan’s

breaches of fiduciary duty and duties of loyalty and confidentiality.


       174.    Cohen, in concert with Maziarz and for the benefit of another client, participated

in a public smear campaign against Wojtaszek and WROTB in the news media, using Nolan to

provide him with confidential WROTB information, and incorrect information, that Cohen

shared with the press on his own and/or through Maziarz.
                                               24
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       175.    Cohen, upon information and belief, encouraged Nolan to take action without the

knowledge or approval of the WROTB Board or his supervisors to draw negative public

attention toward Wojtazek and WROTB.


       176.    Cohen’s aiding and abetting Nolan’s breaches of fiduciary duty and duties of

loyalty and confidentiality has damaged WROTB’s reputation and community goodwill and has

resulted in financial losses to WROTB in the form of compensation, salary, and benefits paid to a

disloyal employee, Nolan.


       177.    As a result of Cohen’s aiding and abetting Nolan’s breaches of fiduciary duty and

duties of loyalty and confidentiality, WROTB has suffered damages in an amount to be

determined at trial.


                                    JURY TRIAL DEMAND

               Defendants request a jury trial on all issues triable by jury.


               WHEREFORE, Defendants demand an order and judgment as follows:

                       a) Dismissing Plaintiff’s Complaint in its entirety, with prejudice;

                       b) Awarding Defendants their costs and expenses incurred in this action,

                          including, but not limited to, reasonable attorneys’ fees; and

                       c) Granting Defendants such other and further relief as the Court deems

                          just and proper.

               WHEREFORE, Defendant and Third-Party Plaintiff WROTB demands an order

               and judgment as follows:


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                   a) Granting WROTB judgment on its Counterclaim against Plaintiff and

                      awarding WROTB damages in an amount to be determined at trial,

                      including disgorgement of the compensation, salary, and benefits that

                      WROTB paid to Plaintiff;

                   b) Granting WROTB judgment on its Third-Party Complaint against

                      Cohen and awarding WROTB damages in an amount to be determined

                      at trial;

                   c) Awarding WROTB its costs and expenses incurred in this action,

                      including, but not limited to, reasonable attorneys’ fees; and

                   d) Granting WROTB such other and further relief as the Court deems just

                      and proper.



Dated: November 27, 2024

                                         HODGSON RUSS LLP
                                         Attorneys for Defendants
                                         and Third-Party Plaintiff


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